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                                  IN THE UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                           SOUTHERN DIVISION

                       E.V. DOE, by Next Friend N.C. DOE;
                       J.P. DOE, by Next Friend J.A.P. DOE;
                       E.R. DOE, by Next Friend J.R. DOE;                  Docket No.
                       J.B. DOE, by Next Friend M.B. DOE; and              Judge
                       J.M. DOE, by Next Friend, H.M. DOE,

                                  Plaintiffs,

                       v.

                       SHIRLEY THOEN, an Individual, and
                       PORT HURON AREA SCHOOL DISTRICT
                                  Defendants.
RASOR LAW FIRM, PLLC




                                                                                                   /
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                                                                                                   /

                                    COMPLAINT AND DEMAND FOR TRIAL

                            NOW COME Plaintiffs, E.V. DOE, by Next Friend, N.C. DOE, J.P.

                       DOE, by Next Friend, J.A.P. DOE, E.R. DOE, by Next Friend, J.R. DOE,

                       J.B. DOE, by Next Friend, M.B. DOE, and J.M. DOE, by Next Friend, H.M.




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                       DOE, by and through their counsel, THE RASOR LAW FIRM, PLLC, and

                       complains of the Defendants as follows:

                                      PARTIES, JURISDICTION, AND VENUE

                              1.   Plaintiff N.C. DOE is a resident of Fort Gratiot, St. Clair

                       County, Michigan. She brings this action as Next Friend for her son, E.V.

                       DOE.

                              2.   Plaintiff E.V. DOE is a minor child and resident of Fort Gratiot,

                       St. Clair County, Michigan.

                              3.   Plaintiff J.A.P. DOE is a resident of Fort Gratiot, St. Clair
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                       County, Michigan. He brings this action as NEXT FRIEND for his son, J.P.

                       DOE.

                              4.   Plaintiff J.P. DOE is a minor child and resident of For Gratiot,

                       St. Clair County, Michigan.

                              5.   Plaintiff J.R. DOE is a resident of Clyde Township, St. Clair

                       County, Michigan. She brings this action as NEXT FRIEND for her son, E.R.

                       DOE.

                              6.   Plaintiff E.R. DOE is a minor child and resident of Clyde

                       Township, St. Clair County, Michigan.

                              7.   Plaintiff M.B. DOE is a resident of Port Huron, St. Clair County,

                       Michigan. She brings this action as Next Friend for her son, J.B. DOE.
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                              8.    Plaintiff J.B. DOE is a minor child and resident of Port Huron,

                       St. Clair County, Michigan.

                              9.    Plaintiff H.M. DOE is a resident of Port Huron, St. Clair

                       County, Michigan. She brings this action as Next Friend for her son, J.M.

                       DOE.

                              10.   Plaintiff J.M. DOE is a minor child and resident of Port Huron,

                       St. Clair County, Michigan.

                              11.   Plaintiffs join in their claims against Defendants pursuant to

                       Fed. R. Civ. P. 20(a).
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                              12.   Upon information and belief, Defendant SHIRLEY THOEN

                       (hereinafter THOEN) is, and has been at all times relevant, a resident of St.

                       Clair County, Michigan.

                              13.   Defendant Port Huron Area School District (PHASD) is a public

                       school district in St. Clair County, Michigan.

                              14.   At all times relevant to this Complaint, Defendant THOEN was

                       a teacher employed by the Defendant PHASD. All actions alleged herein by

                       Defendant THOEN were taken under color of law and in the course and

                       scope of her employment with Defendant PHASD.




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                                15.   The Court has jurisdiction over Plaintiff’s federal claims

                       pursuant to 28 U.S.C. §1331 and supplemental jurisdiction over Plaintiff’s

                       state law claims pursuant to 28 U.S.C. §1367.

                                16.   At all relevant times set forth herein, Defendants acted in

                       concert as an agent of one another.

                                17.   The amount in controversy exceeds $75,000.00, exclusive of

                       costs, interest, and attorney fees, and jurisdiction is otherwise proper in this

                       Court.

                                18.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
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                       because the causes of action alleged arose entirely within this District.

                                                COMMON ALLEGATIONS

                                19.   Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                                20.   At all relevant times, each Defendant, in their dealings with the

                       Plaintiffs, acted under the color of state and federal law.

                                21.   Under the substantive component of the Due Process Clause of

                       the Fourteenth Amendment to the Constitution of the United States, Plaintiffs

                       had the right to, and a liberty interest in, personal security and bodily

                       integrity, which right and liberty interest includes the right to be free from

                       abuse at the hands of a public school employee.
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                             22.    Plaintiffs' rights to and liberty interest in personal security and

                       bodily integrity were clearly established at the times of the events

                       complained of and these rights and liberty interests were, or should have

                       been, well known by the Defendants.

                             23.    Under the procedural component of the Due Process Clause of

                       the Fourteenth Amendment to the Constitution of the United States, Plaintiffs

                       had a property right to a free, appropriate, and least restrictive educational

                       opportunity, which right and property interest includes the right to be free

                       from abuse at the hands of a public school employee.
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                             24.    Plaintiffs' rights to and property interest in a free, appropriate,

                       and least restrictive educational opportunity were clearly established at the

                       times of the events complained of, and these rights and property interests

                       were well known by the Defendants.

                             25.    Minor Plaintiffs E.V. DOE, J.P. DOE, E.R. DOE, J.B. DOE and

                       J.M. DOE each suffer from mental disabilities which rendered them

                       especially susceptible to abuse at the hands of adults.

                             26.    Minor Plaintiff E.V. DOE was born on July 13, 2010, and at all

                       relevant times was a student in the Defendant PHASD. Next Friend N.C.

                       DOE is his mother.


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                             27.   Minor Plaintiff J.P. DOE was born on June 23, 2011, and at all

                       relevant times was a student in the Defendant PHASD. Next Friend J.A.P.

                       DOE is his father.

                             28.   Minor Plaintiff E.R. DOE was born on May 26, 2011, and at all

                       relevant times was a student in the Defendant PHASD. Next Friend J.R.

                       DOE is his mother.

                             29.   Minor Plaintiff J.B. DOE was born on July 19, 2011, and at all

                       relevant times was a student in the Defendant PHASD. Next Friend M.B.

                       DOE is his mother.
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                             30.   Minor Plaintiff J.M. DOE was born on January 1, 2012, and at

                       all relevant times was a student in the Defendant PHASD. Next Friend H.M.

                       DOE is his mother.

                             31.   Defendant THOEN was the head teacher in the Early Childhood

                       Special Education in the Defendant PHASD.

                             32.   Plaintiff E.V. DOE has been diagnosed with autism spectrum

                       disorder and sensory processing disorder. Additionally, Plaintiff E.V. DOE

                       has demonstrated traits that make effectively communicating difficult

                       because of his inability to use non-verbal communication methods. These

                       conditions prevented, or made impossible, a communication of his concerns


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                       to his parents, so that the parents could have successfully intervened and

                       removed the child from a threat of harm.

                              33.   Because of these diagnoses, Plaintiff E.V. DOE was placed in

                       special education classes when he started pre-kindergarten classes in the

                       Defendant PHASD in the fall of 2014.

                              34.   Plaintiff E.V. DOE had an individual education plan (IEP) in

                       place during the fall of 2014.

                              35.   At all relevant times Defendant THOEN was aware of Plaintiff

                       E.V. DOE's limitations and special needs, including his IEP.
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                              36.   Plaintiff J.P. DOE has been diagnosed with autism spectrum

                       disorder and has demonstrated traits that make effectively communicating

                       difficult because of his inability to use non-verbal communication methods.

                              37.   Because of these diagnoses, Plaintiff J.P. DOE was placed in

                       special education classes when he started with Defendant PHASD in the fall

                       of 2014.

                              38.   At all relevant times Defendant THOEN was aware of Plaintiff

                       J.P. DOE's limitations and special needs.

                              39.   Plaintiff E.R DOE has been diagnosed with autism spectrum

                       disorder and has demonstrated traits that make effectively communicating

                       difficult.
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                               40.   Because of these diagnoses, Plaintiff E.R. DOE was placed in

                       special education classes when he started at Defendant PHASD in the fall of

                       2014.

                               41.   At all relevant times Defendant THOEN was aware of Plaintiff

                       E.R. DOE's limitations and special needs.

                               42.   Plaintiff J.B. DOE has not been diagnosed with autism spectrum

                       disorder, but is significantly developmentally behind children of his similar

                       age, in that he has delayed learning, developmental delay disorder, and

                       slowed speech.
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                               43.   Because of these traits and diagnoses, Plaintiff J.B. DOE

                       received special education services from the Defendant PHASD in 2014.

                               44.   At all relevant times Defendant THOEN was aware of Plaintiff

                       J.B. DOE's limitations and special needs.

                               45.   Plaintiff J.M. DOE was only three years old at the time and had

                       not been diagnosed with Autism Spectrum Disorder yet. However, Plaintiff

                       J.M. DOE has demonstrated traits that make effectively communicating

                       difficult because of his inability to use non-verbal communication methods.

                               46.   Because of these traits, Plaintiff J.M. DOE received special

                       education services from the Defendant PHASD in 2014.


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                               47.   At all relevant times Defendant THOEN was aware of Plaintiff

                       J.M. DOE's limitations and special needs.

                               48.   Some examples of the delayed non-verbal communication skills

                       Plaintiffs suffered from include, but are not limited to: making eye-to-eye

                       contact, their body postures, and making gestures during social interaction.

                               49.   These conditions and traits prevented, or made impossible, a

                       communication of the children's concerns to their parents, so that the parents

                       could have successfully intervened and removed the child from a threat of

                       harm.
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                               50.   Defendant THOEN began work with Defendant PHASD as a

                       teacher in 1978.

                               51.   Throughout her 36-year long career with Defendant PHASD,

                       Defendant THOEN transformed into an inappropriate, physically and

                       verbally abusive teacher.

                               52.   This trait was known and/or should have been known to the

                       Defendant PHASD, which demonstrated their knowledge by systematically

                       recording complaints of misconduct and abuse by Defendant THOEN.

                               53.   Despite the knowledge of abuse by the Defendant THOEN,

                       Defendant PHASD refused to intervene or act to protect the students in their

                       classroom, including the Plaintiffs, subjecting them to further harm.
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                             54.     Defendant PHASD      officials    turned   a   blind    eye    to

                       Defendant THOEN's conduct until forced to take action when her physical

                       abuse was caught on hidden camera by the St. Clair County Sheriff's

                       Department.

                             55.     Students in Defendant THOEN's Early Childhood Special

                       Education class were placed in this least restrictive environment according to

                       their individual education plans and may have required services for some or

                       any of the following:

                                     a.   Autistic Spectrum Disorder (ASD);
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                                     b.   Otherwise Health Impaired (OHI);

                                     c.   Early Childhood Developmental Delayed (ECDD);

                                     d.   Speech and Language Impaired (SLI);

                                     e.   Deaf and Hard of Hearing (DHH);

                                     f.   Visually Impaired (VI);

                                     g.   Emotionally Impaired (EI);

                                     h.   Severely Multiply Impaired (SXI);

                                     i.   Severely Mentally Impaired (SMI);

                                     j.   Mild Cognitive Impairment (MICI);

                                     k.   Moderate Cognitive Impairment (MOCI);

                                     l.   Traumatic Brain Injury (TBI);
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                                        m.       Physical Impairment (PI); and

                                        n.       Learning Disabled (LD);

                               56.      According to Defendant PHASD, the Early Childhood Special

                       Education programs "adopts the philosophy that every child is unique with an

                       individual pattern of growth and development.                                 The program goal,

                       curriculum, and materials are developmentally appropriate and geared to

                       differing abilities. The program provides a safe and nurturing environment,

                       which promotes and integrates the physical, cognitive, social, emotional,

                       communication, and self-help areas of development through classroom
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                       activities."1

                               57.      Defendant THOEN was assigned to teach some type of special

                       education course throughout her entire tenure with Defendant PHASD.

                               58.      Despite her long career, completion of crisis prevention institute

                       (CPI) training, and admonishments from PHASD and police officials, in the

                       fall of 2015, Defendant THOEN regularly mistreated and abused the young

                       children with special needs that she was trusted to teach and care for.

                               59.      Defendant THOEN's special education classes had two sessions

                       – one in the morning and one in the afternoon.



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                         http://www.phasd.us/district/departments/special education and early childhood services/early
                       childhood/early childhood program/ (Accessed August 8, 2016)
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                             60.     Each session had approximately 7-8 students, ranging in age

                       from four to six years old.

                             61.     A number of the students in this class, including all of the minor

                       Plaintiffs here, have limited verbal skills or are non-verbal and unable to

                       communicate with their parents or anyone else about the abuse they have

                       endured at the hands of Defendant THOEN.

                             62.     In addition to Defendant THOEN, the classroom was normally

                       staffed by two paraprofessional aides as well as occasional occupational

                       therapists.
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                             63.     At a minimum, students in the PHASD Early Childhood Special

                       Education class need increased attention.        All students in the program

                       required specialized services because of their young age and disabilities.

                             64.     During the 2013-2014 and 2014-2015 school years numerous

                       paraprofessionals, who had staffed Defendant THOEN's classroom, reported

                       to Thomas Edison Elementary and PHASD administration, and ultimately the

                       St. Clair County Sheriff Department, that Defendant THOEN was abusive

                       with the children in her class.

                             65.     Throughout      this   time    frame,    and     likely   beyond,

                       Defendant THOEN was verbally abusive to paraprofessional staff, physically


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                       and verbally abusive to her young students, and regularly exhibited erratic

                       behavior.

                             66.   In September 2014, Defendant THOEN was first reported to the

                       St. Clair County Sheriff Department for potential child abuse and assault.

                             67.   The report was due, in part, to employees of Defendant PHASD

                       complaining to PHASD administration regarding Defendant THOEN's

                       treatment of children in her classroom.

                             68.   The employees included Pamela Smith, who was a long time

                       paraprofessional in Defendant THOEN's classroom.
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                             69.   Throughout the 2013-2014 school year, Smith became

                       increasingly concerned with Defendant THOEN's behavior towards children

                       in her classroom.

                             70.   A few years earlier, Smith had reported similar concerns about

                       Defendant THOEN to the principal at Indian Rivers Elementary School, a

                       school within the Defendant PHASD, but no action was taken.

                             71.   When      Smith    received    a   negative    evaluation    from

                       Defendant THOEN in retaliation for expressing her concerns in June 2014,

                       she lodged a formal complaint about Defendant THOEN with her union and

                       Defendant THOEN's supervisor on June 24, 2014.


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                                72.    As     a    result   of   these    complaints,        Tracy   Eschemburg,

                       Defendant PHASD’s Human Resources Administrator, filed a report with the

                       St. Clair County Sheriff Department on September 16, 2014 – after summer

                       break.

                                73.    No report was filed with Michigan Child Protective Services, as

                       required by law, evidencing deliberate indifference by the Defendant PHASD

                       and its employees for the safety and well-being of the children that was

                       caused by the conduct of Defendant THOEN.

                                74.    Smith was removed from Defendant THOEN's classroom in the
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                       fall of 2014.

                                75.    Defendant PHASD paraprofessional, Robin O'Neil, was also

                       assigned to Defendant THOEN's classroom during the 2013-2014 school

                       year, throughout a two month period.

                                76.    Based on what she observed during that time, O'Neil reported

                       concerns       about       Defendant THOEN's        behavior     to    Defendant PHASD

                       principal, as well as others in the administration.

                                77.    According       to   O'Neil,      she   observed       Defendant THOEN

                       disciplining children inappropriately by hitting and/or screaming at them.




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                               78.   Specifically, O'Neil and Smith reported that Defendant THOEN

                       inappropriately disciplined children by using a Rifton chair, screamed in

                       children's ears and slapped children in the face.

                               79.   A Rifton chair is a specialty activity chair made for individuals

                       with special needs to assist feeding, speech therapy, active learning and for

                       individuals with sensory processing challenges. Specifically, it is supposed

                       to help position individuals to learn functional skills while actively

                       participating in various tasks.

                               80.   Defendant THOEN was interviewed by the St. Clair County
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                       Sheriff Department on October 23, 2014.

                               81.   Defendant THOEN told the investigating detective that she was

                       aware of complaints against her by paraprofessionals since the 2013 school

                       year.

                               82.   Defendant THOEN also admitted to screaming in children's

                       ears.

                               83.   Defendant THOEN additionally told the Detective that she

                       thought it completely appropriate to direct students using her hands with

                       physical force.

                               84.   Defendant THOEN reported that as a result of O'Neil's

                       complaint, she had a meeting with her supervisor wherein she was given
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                       verbal instructions not to use the Rifton chair and to attempt to resolve

                       problems with children verbally rather than by using her hands.

                             85.   The St. Clair County Sheriff Department ultimately closed the

                       incident report and investigation based on the timing of Smith's complaint

                       and her receipt of a negative evaluation, finding there was insufficient

                       information to proceed with a criminal complaint.

                             86.   Defendant THOEN was transferred by Defendant PHASD from

                       Indian Woods Elementary School to Thomas Edison Elementary School at

                       the beginning of the 2014-2015 school year.
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                             87.   Defendant PHASD Paraprofessional Lisa Agosta was assigned

                       to Defendant THOEN's classroom at the start of the 2014-2015 school year.

                             88.   Agosta      became     immediately       concerned      with       how

                       Defendant THOEN treated the children and reported those concerns to the

                       Thomas Edison Elementary principal, Chris Collins.

                             89.   On    the   first    day   of   the     2014-2015      school   year,

                       Defendant THOEN instructed Agosta to hold a boy against the wall, blocking

                       him with her body to keep him from moving away. The boy was screaming

                       as this happened because, due to his disability, he had an aversion to being

                       touched.


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                             90.    After Agosta refused to follow Defendant THOEN's direction

                       she went directly to the principal's office to report the incident.

                             91.    After a discussion with Agosta and another paraprofessional,

                       Michelle Weber, Thomas Edison Elementary Principal Collins instructed the

                       paraprofessionals to begin documenting their concerns in a journal.

                             92.    In just the first week of school, the paraprofessionals observed

                       behavior including the following:

                                    a.     Defendant THOEN        redistributing    individual
                                           children's snacks to other class members despite
                                           parental instructions or food allergies as well as
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                                           not giving children their appropriate food
                                           allotments at meal times;

                                    b.     Defendant THOEN dumping water in a non-verbal
                                           student's face in an attempt to make that student
                                           eat and drink;

                                    c.     Defendant THOEN grabbing a students' arms hard
                                           and/or tightly in an attempt to direct them;

                                    d.     Defendant THOEN lightly slapping a child's face
                                           in an attempt to quiet him;

                                    e.     Defendant THOEN attempting to kick children's
                                           feet out from under them when they are sitting on
                                           their feet.




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                             93.    In addition to the paraprofessionals, bus drivers and aides

                       observed Defendant THOEN being rough with students as they leave the bus

                       to go to her classroom.

                             94.    Defendant THOEN was also regularly verbally abusive toward

                       her paraprofessional staff.

                             95.    Agosta and Weber continued to make Principal Collins aware of

                       the abuse special education children in Defendant THOEN's classroom were

                       experiencing at the hands of their teacher.

                             96.    On September 25, 2015, Tracy Eschemburg again filed a report
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                       with the St. Clair County Sheriff Department regarding Defendant THOEN's

                       behavior.

                             97.    The St. Clair County Sheriff Department began its investigation

                       that day by interviewing both Agosta and Weber.

                             98.    Based on these incidents the St. Clair County Sheriff

                       Department acquired a search warrant on October 1, 2015.

                             99.    Pursuant to the warrant, video and audio surveillance was

                       installed by the St. Clair County Sheriff Department in four locations in

                       Defendant THOEN's classroom on October 5, 2015.




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                                   Relevant Factual Allegations for Plaintiff E.V. DOE

                               100. On    September     8, 2015, Defendant THOEN instructed

                       paraprofessional Agosta to pin Plaintiff E.V. DOE against the ground

                       because he was not calming down.

                               101. Upon doing this, Plaintiff E.V. DOE became hysterical, and

                       started screaming, “let me go” and “leave me alone.”

                               102. Agosta, who worked as a paraprofessional for many years, had

                       never seen teachers do something like this to a child to allegedly “restrain”

                       them.
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                               103. Following the beginning of the school year in September 2015,

                       Plaintiff E.V. suffered an increase and severity in tantrums and crying

                       episodes.

                               104. After these incidents, Plaintiff E.V. feared going to school, even

                       to the extent that he would yell, “No teachers” when told he had to go.

                               105. Because of his autism, Plaintiff E.V. cannot describe what or

                       how he is feeling to either his parents or somebody who could have helped

                       his situation.

                                    Relevant Factual Allegations for Plaintiff J.P. DOE

                               106. Plaintiff J.P. DOE arrived home from school on September 7,

                       2015 with a significant red mark on his hand.
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                             107. On or around early October, Plaintiff J.P. DOE arrived home

                       and had a noticeable lump on his head that was not there when he had left for

                       school in the morning.

                             108. On one occasion Plaintiff J.P. DOE came home and his diaper

                       had not been changed the entire day and he had rashes.

                             109. Plaintiff J.P. DOE began seeing an Applied Behavioral Analysis

                       (ABA) therapist, and in late October she went with him and observed

                       Defendant THOEN in the classroom setting, and she was very upset and

                       shocked about how Defendant THOEN treated the students.
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                             110. As a result of what Plaintiff J.P. DOE’s ABA therapist told his

                       mother, she kept him from school the rest of the week.

                             111. Prior to beginning school, Plaintiff J.P. DOE had been a loving

                       child, and used affection to express himself.

                             112. But notes from Defendant THOEN were sent home to his

                       mother that he was not using his words and that he was not engaging in the

                       classroom.

                             113. Plaintiff J.P. DOE became so distraught when he had to get on

                       the bus to go to school, he would say he had “snakes in his tummy” and

                       would challenge any reason to be on the bus.


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                                  Relevant Factual Allegations for Plaintiff E.R. DOE

                             114. On September 8, 2015, Defendant THOEN pulled Plaintiff E.R.

                       DOE out of the bathroom when his pants and underwear were still at his

                       ankles.

                             115. Defendant THOEN did this because the students’ bathroom

                       breaks had allegedly been taking too long that day.

                             116. There was a similar incident where a bus driver, Colleen

                       Diamond, observed Defendant THOEN pull another student up from his

                       armpits and drag him onto the bus with his pants down at his ankles but his
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                       underwear on.

                             117. On September 17, 2015, Defendant THOEN intentionally ran

                       into Plaintiff E.R. DOE and knocked him down.

                             118. This incident was observed by Paraprofessional Weber.

                                  Relevant Factual Allegations for Plaintiff J.B. DOE

                             119. On October 16, 2015, Defendant THOEN intentionally,

                       unnecessarily, and forcibly stepped on Plaintiff J.B. DOE’s hand.

                             120. Defendant THOEN had a habit of stepping on children’s fingers

                       as discipline, for example if they lay their hand on the rug in the middle of

                       the classroom.


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                               121. On one instance, because a student was fidgeting and not sitting

                       where Defendant THOEN wanted him to sit, Defendant THOEN got angry

                       and stepped on his fingers to get him to do what she wanted.

                               122. On October 21, 2015, Defendant THOEN intentionally stepped

                       on another student’s fingers while he was seated on the activity floor.

                               123. This incident was observed and recorded by hidden camera

                       placed by the St. Clair County Sheriff Department.

                               124. On or around the end of September, Plaintiff J.B. DOE arrived

                       home from school and his mother noticed a bad bruise on his lower back and
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                       butt.

                               125. Plaintiff J.B. DOE could not explain what happened and his

                       mother naturally did not assume the worst.

                               126. There had been a prior incident where Defendant THOEN

                       dropped a student on the ground and kicked him in the head and neck area

                       twice. This incident was observed on the surveillance camera.

                               127. Defendant THOEN was also observed on October 21, 2015 on

                       the surveillance camera kneeing a student in the head after she had stepped

                       on his fingers when he was on the ground.




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                             128. There was another instance where a parent called the school

                       after her son arrived home with a red welt, and was told by Defendant

                       THOEN that it probably happened on the bus.

                             129. Michelle Weber, another paraprofessional who worked in the

                       classroom, later told the Sheriff’s Department that she believed the student

                       had received the welt from Defendant THOEN when the two were alone in

                       the class room because he had not had such a welt before.

                             130. Before Plaintiff J.B. DOE began attending school at Thomas

                       Edison, he had never had trouble going to school; in fact, he loved attending
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                       school.

                             131. After the school year began, he would throw fits when it was

                       time to go to school, even to the extent he would have to be carried on to the

                       bus in the morning.

                             132. Within two weeks of the school year beginning, Plaintiff J.B.

                       DOE’s bowel control and potty training completely regressed to the extent he

                       had zero control of his bowels.

                             133. When his parents asked him about his school, he could only talk

                       about “the monster.”




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                                      Relevant Factual Allegations for Plaintiff J.M. DOE

                               134. During      the     first   week   of   school   Defendant     THOEN

                       intentionally, forcibly, maliciously, and unnecessarily splashed water in

                       Plaintiff J.M. DOE’s face.

                               135. Defendant THOEN did this in order to punish Plaintiff J.M.

                       DOE because he had been playing in the water.

                               136. On or around early to middle October, Plaintiff J.M. DOE was

                       sitting outside of the bus area, and Defendant THOEN forcibly grabbed him

                       by the back/neck portion of his coat and dragged him through the school
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                       yard.

                               137. This was observed by the bus driver, Sandy Harvey, and Ms.

                       Harvey saw one of the paraprofessionals take a picture of the incident

                       because it was so unnecessary and violent.

                               138. On or around late September, Plaintiff J.M. DOE came home

                       with sore fingers, and told his mother that he had “boo boos” on his fingers.

                               139.     On or around October 18, Plaintiff J.M. DOE had a knot on his

                       head, and the bus driver was told when Plaintiff J.M. DOE boarded that he

                       had fallen at school and had a goose egg on his head.

                               140. The 2015 school year was Plaintiff J.M. DOE’s first year of

                       school and he was not potty trained.
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                             141. Because he was not potty trained, Plaintiff J.M. DOE wore a

                       diaper to school.

                             142. On one occasion in September, Plaintiff J.M. DOE arrived home

                       from school and had a severe diaper rash with open sores because his diaper

                       had not been changed.

                             143. Plaintiff J.M. DOE also came home from school on multiple

                       instances wearing the same diaper he had worn to school.

                             144. When Plaintiff J.M. DOE was shown Defendant THOEN’s

                       picture, he said, “No. Bad. Go,” and ran away.
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                                           MORE COMMON ALLEGATIONS

                             145. At no time was there a pedagogical justification for

                       Defendant THOEN's use of force toward these minor Plaintiffs.

                             146. Defendant THOEN's use of force was excessive and far more

                       intrusive than necessary to meet any legitimate objective.

                             147. Defendant THOEN's use of force on these minor Plaintiffs was

                       malicious and sadistic and had the sole purpose of causing harm to these

                       minor Plaintiffs.

                             148. Based on the above incidents, among many others related to

                       other children in her classes, Defendant THOEN was questioned by the St.


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                       Clair County Sheriff Department in the office of Thomas Edison Elementary

                       Principal Collins on October 30, 2015.

                             149. During the interview Defendant THOEN reported aggression

                       and frustration in her classroom but denied being too rough with children.

                             150. That same day she was placed on administrative leave by

                       Defendant PHASD.

                             151. Parents of other students in Defendant THOEN's class reported

                       that their children regularly refuse to go to school.

                             152. A referral to State of Michigan CPS was also made on or around
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                       September 25, 2015, regarding Defendant THOEN's classroom behavior.

                             153. On November 3, 2015, a detective with the St. Clair County

                       Sheriff Department reported incidents to the State of Michigan Child

                       Protective Services (CPS).

                             154. On November 12, 2015, the St. Clair County Sheriff Department

                       prepared a request to charge Defendant THOEN.

                             155. On December 2, 2015, Defendant THOEN was charged with

                       two counts of Assault or Assault and Battery by the St. Clair County

                       Prosecutor's Office.

                             156. On December 3, 2015, Defendant THOEN pled guilty to both

                       counts.
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                               157. While Defendant THOEN had been placed on administrative

                       leave     from    Defendant PHASD,            upon    information    and    belief

                       Defendant THOEN was actually allowed to retire from Defendant PHASD

                       and to retain her retirement benefits.

                               158. As a result of Defendant THOEN's abuse, minor Plaintiffs E.V.

                       DOE, J.P. DOE, E.R. DOE, J.B. DOE and J.M. DOE have experienced

                       serious injuries to their physical, psychological, academic and emotional

                       health and well-being.

                                  COUNT I: 42 U.S.C. § 1983 CIVIL RIGHTS CLAIM
                                        (AGAINST DEFENDANT THOEN)
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                                    _______________________________________

                               159. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                               160. At all times relevant to this action, Defendant THOEN was an

                       employee of a public school district, was acting as a public school teacher,

                       and was acting under the color of Michigan State law.

                               161. Plaintiffs' constitutional rights to personal security and bodily

                       integrity were clearly established and well-known to Defendant THOEN at

                       the time of her physical assaults of Plaintiffs.

                               162. Defendant THOEN's actions deprived Plaintiffs of their rights to

                       personal security and bodily integrity, including their right to be free from
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                       physical abuse at the hands of a public employee and Plaintiffs' substantive

                       due process rights to a free, appropriate and least restrictive education

                       possible in violation of Plaintiffs' clearly-established civil rights, in violation

                       of 42 U.S.C. § 1983.

                             163. Defendant THOEN's conduct was in violation of the criminal

                       code of the State of Michigan, and in violation of the policies and procedures

                       that either were in effect or should have been in effect and in force in the Port

                       Huron Area School District.

                             164. Defendant THOEN's actions were not taken in good faith, but
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                       were performed for the purpose of causing harm and/or punishment, without

                       a legitimate governmental or pedagogical purpose.

                             165. As a result of Defendant THOEN's physical abuse and

                       misconduct, Plaintiffs have suffered severe physical, psychological, and

                       emotional injuries, as well as serious impairment to their academic and social

                       development.

                             166. Defendant PHASD           was     aware     and     had    notice    of

                       Defendant THOEN's abuse and unconstitutional behavior for more than a

                       year before taking any action against Defendant THOEN.

                             167. Defendant THOEN's abusive actions were not inflicted upon

                       children who did not have disabilities; they were only inflicted upon
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                       Plaintiffs and other disabled children. Plaintiffs' rights to the equal protection

                       of the laws, and to the rights and privileges afforded by the Constitution and

                       laws of the United States were violated in contravention of 42 U.S.C. §1983.

                             WHEREFORE, Plaintiffs claim judgment of compensatory, punitive,

                       and exemplary damages against Defendant in an amount in excess of

                       Seventy-Five Thousand ($75,000.00) Dollars, together with costs, interest,

                       and attorney fees so wrongfully incurred.

                                 COUNT II: 42 U.S.C. § 1983 CIVIL RIGHTS CLAIM
                                        (AGAINST DEFENDANT PHASD)
                                     ____________________________________
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                             168. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully stated herein.

                             169. Defendant PHASD, with knowledge of Defendant THOEN's

                       behavior, and in the face of multiple complaints by employees of the

                       Defendant PHASD who actually witnessed misconduct, acted with deliberate

                       indifference of both the supervision of Defendant THOEN and in their failure

                       to protect the rights of the minor Plaintiffs herein, as well as all other students

                       in Defendant THOEN's classroom.

                             170. At all times relevant to this action, Defendant THOEN was an

                       employee of a public school district, was acting as a public school teacher,


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                       and was acting under the color of state law, and as an agent of

                       Defendant PHASD.

                             171. Plaintiffs' constitutional rights to personal security and bodily

                       integrity were clearly established and well-known to Defendant PHASD at

                       the time of the physical assaults of Plaintiffs by Defendant THOEN.

                             172. Defendant PHASD's actions deprived Plaintiffs of their rights to

                       personal security and bodily integrity, including their right to be free from

                       physical abuse at the hands of a public employee and the Plaintiffs

                       substantive due process abuse at the hands of a public employee and the
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                       Plaintiffs substantive due process rights to a free, appropriate and least

                       restrictive education possible.       Thus, Defendant PHASD violated the

                       Plaintiffs' clearly-established civil rights, in violation of 42 U.S.C. § 1983.

                             173. Defendant PHASD's agents’ conduct was in violation of the

                       criminal code of the State of Michigan, and in violation of the policies and

                       procedures that either were in effect or should have been in effect and in

                       force in the Port Huron Area School District, and Defendant PHASD acted in

                       a manner that was deliberately indifferent to the rights of the Plaintiffs.

                             174. Defendant PHASD's agents’ actions were not taken in good faith,

                       but were performed with knowledge of the harm being caused and with


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                       reckless disregard of the rights of the Plaintiffs, and without a legitimate

                       governmental or pedagogical purpose or excuse.

                             175. As a result of Defendant PHASD's misconduct, minor Plaintiffs

                       have suffered severe physical, psychological, and emotional injuries, as well

                       as serious impairment to their academic and social development.

                             WHEREFORE, Plaintiffs claim judgment of compensatory, punitive,

                       and exemplary damages against Defendant in an amount in excess of

                       Seventy-Five Thousand ($75,000.00) Dollars, together with costs, interest,

                       and attorney fees so wrongfully incurred.
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                              COUNT III: VIOLATION OF THE AMERICANS WITH
                                 DISABILITIES ACT, U.S.C. § 12132 (AGAINST
                                            DEFENDANT THOEN)
                                 _________________________________________


                             176. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                             177. Under the Americans with Disabilities Act, 42 U.S.C. §12332 et

                       seq., Plaintiffs are protected as persons with disabilities, and pursuant to 20

                       U.S.C. §1415, are entitled to bring a claim or cause of action under the

                       provisions of the Act.




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                             178. Regulations set forth within 28 C.F.R. §35 have been adopted by

                       the enforcing agencies for purposes of implementing and interpreting the

                       Act's provisions.

                             179. Defendant THOEN violated those provisions of the Americans

                       with Disabilities Act, individually and as an agent of Defendant PHASD, and

                       thereby causing Defendant PHASD to violate the Americans with Disabilities

                       Act, by her actions and omissions including but not limited to the following:

                                    a.     28 C.F.R. §35.130(a), which provides that "no
                                           qualified individual with a disability shall, on the
                                           basis of disability, be excluded from participation
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                                           in or be denied the benefits of the services,
                                           programs, or activities of a public entity, or be
                                           subjected to discrimination by any public entity."

                                    b.     28 C.F.R. §25.130(b)(I), which prohibits a public
                                           entity from "deny[ing] a qualified individual with a
                                           disability an opportunity to participate in or benefit
                                           from the aid, benefit, or service [of the public
                                           entity.]"

                                    c.     28 C.F.R. §35.130(b)(iii), which prohibits a public
                                           entity from providing a "qualified individual with a
                                           disability with an aid, benefit or service, to gain
                                           the same benefit, or to reach the same level of
                                           achievement as that provided to others."

                                    d.     28 C.F.R. §35.130(b)(vii) which prohibits a public
                                           entity from "otherwise limit[ing] a qualified
                                           individual with a disability in the enjoyment of any
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                                          right, privilege, advantage, or opportunity enjoyed
                                          by others receiving the aid, benefit, or service."

                                     e.   28 C.F.R. §35.130(b)(3)(I), by using "criteria or
                                          methods of administration" that have "the effect of
                                          subjecting qualified individuals with disabilities to
                                          discrimination on the basis of disability."

                                     f.   28 C.F. R. §35.130(b)(3)(ii), by using "criteria or
                                          methods of administration that "have the purpose
                                          or effect of defeating or substantially impairing
                                          accomplishment of the objectives of the public
                                          entity's program with respect to individuals with
                                          disabilities."
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                                     g.   28 C.F.R. §35.130(b)(8), which prohibits a public
                                          entity from "impose[ing] or apply[ing] eligibility
                                          criteria that screen out or tend to screen out an
                                          individual with a disability or any class of
                                          individuals with disabilities from fully and equally
                                          enjoying any service, program, or activity," based
                                          on criteria that are not necessary for the provision
                                          of the services, programs, or activities being
                                          offered.

                              180. The    Plaintiffs’   disabilities   and   inability     to     effectively

                       communicate motivated Defendant THOEN’s abuse and treatment of the

                       Plaintiffs.




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                             181. Plaintiffs are under the information and belief that there have not

                       been any other reports of student abuse in the elementary school inflicted by

                       non-special education teachers.

                             182. The conduct of Defendant THOEN was and is a proximate cause

                       of Plaintiffs' injuries including their emotional, psychological, and physical

                       injuries, and the permanent and serious impairment of each Plaintiff's

                       academic and social development.

                             WHEREFORE, each Plaintiff seeks judgment of compensatory,

                       punitive, and exemplary damages against Defendant THOEN in an amount in
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                       excess of $75,000, along with costs, interest, and attorney's fee so wrongfully

                       incurred.

                              COUNT IV: VIOLATION OF THE AMERICANS WITH
                                      DISABILITIES ACT, 42 U.S.C. §12132
                                       (AGAINST DEFENDANT PHASD)
                               _______________________________________________


                             183. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                             184. Under the Americans with Disabilities Act, 42 U.S.C. §12332 et

                       seq., Plaintiffs are protected as persons with disabilities, and pursuant to 20




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                       U.S.C. §1415, are entitled to bring a claim or cause of action under the

                       provisions of the Act.

                             185. Regulations set forth within 28 C.F.R. §35 have been adopted by

                       the enforcing agencies for purposes of implementing and interpreting the

                       Act's provisions.

                             186. Defendant PHASD violated those provisions of the Americans

                       with Disabilities Act, by its actions and omissions including but not limited

                       to the following:

                                    a.     28 C.F.R. §35.130(a), which provides that "no
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                                           qualified individual with a disability shall, on the
                                           basis of disability, be excluded from participation
                                           in or be denied the benefits of the services,
                                           programs, or activities of a public entity, or be
                                           subjected to discrimination by any public entity."

                                    b.     28 C.F.R. §25.130(b)(I), which prohibits a public
                                           entity from "deny[ing] a qualified individual with a
                                           disability an opportunity to participate in or benefit
                                           from the aid, benefit, or service [of the public
                                           entity.]"

                                    c.     28 C.F.R. §35.130(b)(iii), which prohibits a public
                                           entity from providing a "qualified individual with a
                                           disability with an aid, benefit or service, to gain
                                           the same benefit, or to reach the same level of
                                           achievement as that provided to others."



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                                  d.    28 C.F.R. §35.130(b)(vii) which prohibits a public
                                        entity from "otherwise limit[ing] a qualified
                                        individual with a disability in the enjoyment of any
                                        right, privilege, advantage, or opportunity enjoyed
                                        by others receiving the aid, benefit, or service."

                                  e.    28 C.F.R. §35.130(b)(3)(I), by using "criteria or
                                        methods of administration" that have "the effect of
                                        subjecting qualified individuals with disabilities to
                                        discrimination on the basis of disability."
                                  f.    28 C.F. R. §35.130(b)(3)(ii), by using "criteria or
                                        methods of administration that "have the purpose
                                        or effect of defeating or substantially impairing
                                        accomplishment of the objectives of the public
                                        entity's program with respect to individuals with
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                                        disabilities."

                                  g.    28 C.F.R. §35.130(b)(8), which prohibits a public
                                        entity from "impos[ing] or apply[ing] eligibility
                                        criteria that screen out or tend to screen out an
                                        individual with a disability or any class of
                                        individuals with disabilities from fully and equally
                                        enjoying any service, program, or activity," based
                                        on criteria that are not necessary for the provision
                                        of the services, programs, or activities being
                                        offered.

                             187. Despite Defendant PHASD’s actual and/or constructive

                       knowledge of Defendant THOEN’s abuse and discrimination, the Plaintiffs’

                       disabilities, youth, and inability to effectively communicate motivated

                       Defendant PHASD’s acts or omissions.

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                             188. The conduct of Defendant PHASD was and is a proximate cause

                       of Plaintiffs' injuries including their emotional, psychological, and physical

                       injuries, and the permanent and serious impairment of each Plaintiff's

                       academic and social development.

                             WHEREFORE, each Plaintiff seeks judgment of compensatory,

                       punitive, and exemplary damages against Defendant THOEN in an amount in

                       excess of $75,000, along with costs, interest, and attorney's fee so wrongfully

                       incurred.

                       COUNT V: VIOLATION OF THE REHABILITATION ACT OF 1973,
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                                          29 U.S.C. § 794 (§ 504)
                                    (AGAINST DEFENDANT THOEN)
                           _________________________________________________


                             189. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                             190. Plaintiffs are individuals with disabilities within the meaning of

                       §504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (§504) and those

                       regulations promulgated thereunder, 34 C.F.R. Part 104, which prohibit

                       discrimination against persons with disabilities.




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                             191. U.S.C. §504 prohibits the exclusion from the participation in, or

                       being denied the benefits of, or being subjected to discrimination under any

                       program or activity receiving Federal financial assistance.

                             192. The practices and procedures endorsed and/or permitted by

                       Defendant PHASD as described above and herein, including, but not limited

                       to, Defendant THOEN's physical and emotional abuse of the Plaintiffs but

                       not inflicted upon children without disabilities violate the prohibition against

                       discrimination solely on the basis of disability.

                             193. Defendant THOEN has violated Plaintiffs' rights under U.S.C.
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                       §504 and the regulations promulgated thereunder by denying Plaintiffs the

                       benefits of receiving full and equal access to the public education programs

                       and activities therein.

                             194. The conduct of Defendant THOEN was and is a proximate cause

                       of Plaintiffs' injuries, including their emotional, psychological, and physical

                       injuries, and the permanent and serious impairment of each Plaintiff's

                       academic and social development.

                             WHEREFORE, each Plaintiff seeks judgment of compensatory,

                       punitive, and exemplary damages against Defendant THOEN in an amount in

                       excess of $75,000, along with costs, interest, and attorney's fees so

                       wrongfully incurred.
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                       COUNT VI: VIOLATION OF THE REHABILITATION ACT OF 1973,
                                          29 U.S.C. § 794 (§ 504)
                                     (AGAINST DEFENDANT PHASD)
                            ________________________________________________


                             195. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                             196. Plaintiffs are individuals with disabilities within the meaning of

                       U.S.C. §504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (§504) and

                       those regulations promulgated thereunder, 34 C.F.R. Part 104, which prohibit

                       discrimination against persons with disabilities.
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                             197. U.S.C. §504 prohibits the exclusion from the participation in, or

                       being denied the benefits of, or being subjected to discrimination under any

                       program or activity receiving Federal financial assistance.

                             198. The practices and procedures endorsed and/or permitted by

                       Defendant PHASD as described above and herein, including, but not limited

                       to, Defendant THOEN's physical and emotional abuse of the Plaintiffs but

                       not inflicted upon children without disabilities violate the prohibition against

                       discrimination solely on the basis of disability.

                             199. Defendant PHASD has violated Plaintiffs' rights under U.S.C.

                       §504 and the regulations promulgated thereunder by denying Plaintiffs the


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                       benefits of receiving full and equal access to the public education programs

                       and activities therein.

                             200. The conduct of Defendant PHASD was and is a proximate cause

                       of Plaintiffs' injuries, including their emotional, psychological, and physical

                       injuries, and the permanent and serious impairment of each Plaintiff's

                       academic and social development.




                             WHEREFORE each Plaintiff seeks judgment of compensatory,
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                       punitive, and exemplary damages against Defendant THOEN in an amount in

                       excess of $75,000, along with costs, interest, and attorney's fees so

                       wrongfully incurred.

                         COUNT VII: MICHIGAN PERSONS WITH DISABILITIES CIVIL
                                           RIGHTS ACT CLAIM
                                      (AGAINST THOEN AND PHASD)
                             ________________________________________________


                             201. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                             202. Plaintiffs are, under Michigan law, including, without limitation

                       under the Persons with Disabilities Civil Rights Act (M.C.L. §37.1101, et


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                       seq), persons protected from acts of abuse and discrimination in educational

                       institutions, by those in supervisory control over them, and protected against

                       discrimination based upon disabilities.

                              203. At all relevant times, Defendant THOEN had supervisory

                       control over Plaintiffs as their teacher, and corresponding obligations not to

                       engage in abusive conduct or discriminate against them because of their

                       disabilities.

                              204. At all relevant times, Defendant PHASD was an educational

                       institution under the PWDCRA.
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                              205. At all times, relevant hereto, Defendant THOEN did, in fact,

                       have supervisory control and corresponding obligations to the Plaintiffs in

                       her role as a teacher.

                              206. At all times, relevant hereto, Defendant THOEN used her

                       supervisory position as a teacher to abuse and discriminate against Plaintiffs,

                       while knowing that such conduct was illegal and improper.

                              207. Absent her supervisory position over the minor, disabled

                       Plaintiffs, Defendant THOEN would not have been in a position to, nor in

                       fact would have been able to abuse Plaintiffs.




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                              208. Defendant PHASD had actual and/or constructive notice of

                       Defendant THOEN's propensity to engage in such abusive, discriminatory

                       behavior.

                              209. Pursuant to Michigan law, Defendant THOEN's employer,

                       Defendant PHASD, is liable for the actions and conduct of its employee.

                              210. Plaintiffs are disabled pursuant to the PWDCRA.

                              211. The     Plaintiffs’   disabilities   and   inability     to     effectively

                       communicate motivated Defendant THOEN’s abuse and treatment of the

                       Plaintiffs.
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                              212. Despite Defendant PHASD’s actual and/or constructive

                       knowledge, the Plaintiffs disabilities, youth, and inability to effectively

                       communicate motivated Defendant PHASD’s actions or omissions.

                              213. Plaintiffs are under the information and belief that there have not

                       been any other reports of student abuse in the elementary school by non-

                       special education teachers against non-special education students.

                              214. Defendants' abuse and conduct toward minor, disabled Plaintiffs

                       were intentional, discriminatory, and unwelcome.

                              215. Plaintiffs were subjected to an intimidating, hostile, and

                       offensive educational environment of Defendants' creation.


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                             216. Defendants explicitly or implicitly made Plaintiffs' submission

                       to that conduct a term or condition of obtaining the full benefit of their

                       school's educational opportunities or benefits.

                             217. Defendants' discrimination resulted in denying Plaintiffs the full

                       and equal enjoyment of the goods, services, facilities, privileges, advantages,

                       or accommodations of an educational institution.

                             218. As a result of Defendants' physical abuse, misconduct and

                       discrimination, minor, disabled Plaintiffs have suffered severe physical,

                       psychological, and emotional injuries, as well as serious impairment to their
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                       academic and social development.

                             WHEREFORE, each Plaintiff claims judgment of compensatory,

                       punitive, and exemplary damages against Defendant in an amount that

                       rightfully compensates Plaintiff together with costs, interest, and attorney

                       fees so wrongfully incurred.

                                    COUNT VIII: BATTERY (AGAINST THOEN)
                                        ______________________________


                             219. Plaintiffs reincorporate each and every preceding paragraph as

                       though more fully restated herein.

                             220. Defendants THOEN's conduct, as set forth above, constituted a

                       willful and harmful or offensive touching of Plaintiffs.
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                             221. Defendant THOEN intended the act which caused the willful

                       and harmful or offensive touching of Plaintiffs.

                             222. As a result of Defendant's conduct, minor Plaintiffs have

                       suffered severe physical, psychological, and emotional injuries, as well as

                       serious impairment to their academic and social development.

                             WHEREFORE, each Plaintiff claims judgment of compensatory,

                       punitive, and exemplary damages against Defendant in an amount that

                       rightfully compensates Plaintiff together with costs, interest, and attorney

                       fees so wrongfully incurred.
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                                     COUNT IX: ASSAULT (AGAINST THOEN)
                                        ________________________________


                             223. Plaintiffs reincorporate each and every preceding paragraph as

                       though more fully restated herein.

                             224. Defendant THOEN's conduct, as set forth above, constituted an

                       unlawful offer of corporal injury to Plaintiffs by the use of force.

                             225. In the alternative, Defendant THOEN's conduct, as set forth

                       above, constituted an exercise of force unlawfully directed toward Plaintiffs.

                             226. The surrounding circumstances of that conduct created a well-

                       founded apprehension in Plaintiffs of imminent contact.


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                             227. The surrounding circumstances of that conduct created an

                       apparent present ability for Defendant THOEN to accomplish that contact.

                             228. As a result of Defendant THOEN's conduct, Plaintiffs have

                       suffered severe physical, psychological, and emotional injuries, as well as

                       serious impairment to their academic and social development.

                             WHEREFORE, each Plaintiff claims judgment of compensatory,

                       punitive, and exemplary damages against Defendant in an amount that

                       rightfully compensates Plaintiff together with costs, interest, and attorney

                       fees so wrongfully incurred.
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                            COUNT X: INTENTIONAL INFLICTION OF EMOTIONAL
                                       DISTRESS (AGAINST THOEN)
                                  _______________________________________


                             229. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                             230. Defendant THOEN's conduct, as set forth above, was intentional

                       or reckless, extreme, outrageous, and of such character as to be intolerable in

                       a civilized society.

                             231. Defendant THOEN's conduct was for an ulterior motive or

                       purpose, including but not limited to causing Plaintiffs to suffer severe

                       emotional distress, including and/or to satisfy her own needs to act out in an

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                       aggressive manner as a means of venting and relieving her own frustration

                       regarding her students as well as her personal issues.

                             232. Defendant THOEN's conduct resulted in minor Plaintiffs

                       suffering extreme emotional distress.

                             WHEREFORE, each Plaintiff claims judgment of compensatory,

                       punitive, and exemplary damages against Defendant in an amount that

                       rightfully compensates Plaintiff together with costs, interest, and attorney

                       fees so wrongfully incurred.

                           COUNT XI: INTENTIONAL INFLICTION OF EMOTIONAL
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                                       DISTRESS (AGAINST PHASD)
                              _____________________________________________

                             233. Plaintiffs incorporate each and every preceding paragraph as

                       though more fully restated herein.

                             234. Defendant PHASD's conduct, as set forth above, was intentional

                       or reckless, extreme, outrageous, and of such character as to be intolerable in

                       a civilized society.

                             235. Defendant PHASD's conduct was for an ulterior motive or

                       purpose, including but not limited to causing Plaintiffs to suffer severe

                       emotional distress.




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                             236. Defendant PHASD's conduct resulted in minor Plaintiffs

                       suffering extreme emotional distress.

                             WHEREFORE, each Plaintiff claims judgment of compensatory,

                       punitive, and exemplary damages against Defendant in an amount that

                       rightfully compensates Plaintiff together with costs, interest, and attorney

                       fees so wrongfully incurred.

                                COUNT XII: GROSS NEGLIGENCE AGAINST PHASD
                                         _____________________________

                             237. Plaintiffs incorporate each and every preceding paragraph as
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                       though more fully restated herein.

                             238. As Plaintiffs' teacher, Defendant THOEN owed Plaintiffs a duty

                       of reasonable care for their safety.

                             239. Defendant PHASD knew or had reason to know that

                       Defendant THOEN's physically abusive conduct, as set forth above, would

                       result in Plaintiffs suffering severe emotional and psychological distress.

                             240. Notwithstanding the foregoing, Defendant PHASD subjected

                       Plaintiffs to physically and verbally abusive behavior, which was the

                       proximate cause of the injuries and damages suffered by Plaintiffs as set forth

                       above.



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                             241. Although Defendant THOEN was a governmental employee

                       acting in the course and scope of his employment, Defendant PHASD are not

                       entitled to governmental immunity for the reason that her conduct constitutes

                       gross negligence as defined by Michigan law, in that:

                                   a.     Defendant had actual knowledge of the extreme
                                          risk of emotional and psychological harm to
                                          Plaintiffs as a result of her physical and verbal
                                          abuse; and,

                                   b.     Notwithstanding her awareness of this risk,
                                          Defendant engaged in the abusive conduct as set
                                          forth above;
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                                   c.     Because Defendant THOEN had received similar
                                          complaints just a year earlier, the Plaintiffs injury
                                          was foreseeable and avoidable had Defendant
                                          PHASD not disregarded the severity;

                             242. As a result of Defendant PHASD's conduct, Plaintiffs have

                       suffered severe physical, psychological, and emotional injuries, as well as

                       serious impairment to their academic and social development.

                             243. The sole proximate cause to the injuries to the Plaintiffs was the

                       conduct of multiple agents of Defendant PHASD.

                             WHEREFORE, each Plaintiff claims judgment of compensatory,

                       punitive, and exemplary damages against Defendant in an amount that


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                       rightfully compensates Plaintiff together with costs, interest, and attorney

                       fees so wrongfully incurred.

                                                             Respectfully submitted,

                                                              /s/James B. Rasor        .
                                                             James B. Rasor (P43476)
                                                             Attorney for Plaintiffs
                                                             THE RASOR LAW FIRM, PLLC
                                                             201 East Fourth Street
                                                             Royal Oak, Michigan 48067
                                                             (248) 543-9000
                       Dated: December 13, 2017              jbr@rasorlawfirm.com

                                             DEMAND FOR JURY TRIAL
RASOR LAW FIRM, PLLC




                             NOW COME Plaintiffs, E.V. DOE, by Next Friend, N.C. DOE, J.P.

                       DOE, by Next Friend, J.A.P. DOE, E.R. DOE, by Next Friend, J.R. DOE, J.B.

                       DOE, by Next Friend, M.B. DOE, and J.M. DOE, by Next Friend, H.M.

                       DOE, by and through their counsel, THE RASOR LAW FIRM, PLLC, and hereby

                       demands a trial by jury in the above-captioned cause of action.

                                                             Respectfully submitted:

                                                             /s/ James B. Rasor__
                                                             James B. Rasor (P43476)
                                                             Attorney for Plaintiffs
                                                             THE RASOR LAW FIRM, PLLC
                                                             201 E. Fourth Street
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                       Dated: December 13, 2017

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